     Case 1:24-cv-00306-DCN         Document 133    Filed 05/07/25   Page 1 of 2




                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

KATIE ROBINSON, et al,
                                              Case No. 1:24-cv-00306-DCN
                             Plaintiffs,
                                              ORDER REGARDING JOINT
v.
                                              MOTION TO EXTEND
RAUL LABRADOR; et al.,                        DISCOVERY DEADLINES AND
                                              DISPOSITIVE MOTIONS
                           Defendants.
                                              DEADLINES

         This matter came before the Court on the Parties’ Joint Motion to Continue

Discovery and Dispositive Motion Deadlines (the “Motion”). Plaintiffs, State

Defendants, and Centurion Defendants collectively submit their Joint Motion to the

Court.

         The Court hereby finds that the Parties have demonstrated good cause and met

the standards for extending the discovery deadlines and dispositive motions deadline

pursuant to Federal Rules of Civil Procedure (F.R.C.P.) 16 and District Local Rules

6.1 and 7.1(a).

         NOW THEREFORE, IT IS HEREBY ORDERED that the Motion is

GRANTED, and the new case deadlines are as follows:

         •     Close of fact discovery: October 6, 2025;

         •     Exchange of expert reports: November 4, 2025;

ORDER - 1
     Case 1:24-cv-00306-DCN     Document 133    Filed 05/07/25   Page 2 of 2




     •      Exchange of rebuttal expert reports: December 8, 2025;

     •      Close of expert discovery: January 19, 2026; and

     •      Dispositive motion deadline: February 9, 2026.

IT IS SO ORDERED.

                                           DATED: May 7, 2025


                                           _________________________
                                           David C. Nye
                                           Chief U.S. District Court Judge




ORDER - 2
